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14                              UNITED STATES DISTRICT COURT

15                             NORTHERN DISTRICT OF CALIFORNIA

16                                    SAN JOSE DIVISION

17
     FEDERAL TRADE COMMISSION,                  NO. 5:17-CV-00220-LHK-NMC
18
                  Plaintiff,                     DEFENDANT QUALCOMM
19                                               INCORPORATED’S BRIEF RE OFFER
            v.
20                                               OF PROOF
     QUALCOMM INCORPORATED,
21   a Delaware corporation,
                                                JUDGE: Hon. Lucy H. Koh
22                Defendant.
                                                Trial Date: January 4, 2019
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                                                                   BRIEF RE OFFER OF PROOF
                                                              Case No. 5:17-CV-00220-LHK-NMC
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 1          Defendant Qualcomm Incorporated (“Qualcomm”) submits this brief to apprise the Court
 2   of the status of the parties’ meet and confer that the Court directed on the subject of Qualcomm’s
 3   offer of proof pursuant to Fed. R. Evid. 103 regarding evidence of competitive conditions after
 4   March 30, 2018.
 5          As the Court directed, Qualcomm provided its draft offer of proof to the FTC on Tuesday,
 6   January 22, 2018. The parties met and conferred by telephone on January 23, 2018 and
 7   exchanged proposals regarding a procedure for Qualcomm to make its offer of proof. However,
 8   as of the time of this filing, the parties have not been able to come to an agreement.
 9          The FTC insists that this issue must be resolved now during Qualcomm’s case, and that
10   Qualcomm expend its trial time to make the offer of proof. It further insists that the FTC should
11   have the opportunity to object to Qualcomm’s proffer, but without offering that it will do so
12   during its own trial time. Qualcomm has advised the FTC that the FTC’s proposal would impose
13   unnecessary and additional burdens on both Qualcomm and the Court, and that it would be filing
14   this brief. The FTC confirmed that it will file its response brief by 12:00 noon on January 24th.
15          By this brief Qualcomm asks the Court to accept its written proffer or allow Qualcomm to
16   orally present its proffer in Court on January 25, 2019 before the testimony of Alex Rogers and
17   Aviv Nevo. Qualcomm has the right under Rule 103 of the Federal Rules of Evidence to submit
18   an offer of proof in order to preserve for appeal any claim of error in an evidentiary ruling. Fed.
19   R. Evid. 103(a)(2) (“if the ruling excludes evidence, a party informs the court of its substance by
20   an offer of proof . . .”); see United States v. Serrano, 582 F. App'x 729, 730 (9th Cir. 2014) (under
21   Federal Rule of Evidence 103(a)(2), court of appeals cannot review a claim of improper exclusion
22   of evidence where that evidence was not presented to the district court); see also United States v.
23   Vardanian, 116 F.3d 487 (9th Cir. 1997)( the court of appeals “cannot review a claim of improper
24   exclusion of evidence where the evidence was not presented to the court”); United States v.
25   Pacheco, 912 F.2d 297, 304 (9th Cir. 1990) (“We cannot review evidence that was not presented
26   to the district court”). It would be error for the Court to refuse to permit Qualcomm to make an
27   offer of proof under Rule 103. United States. v. James, 510 F.2d 546, 551 (5th Cir. 1975) (“The
28   judge erred in refusing to allow James' counsel to make an offer of proof”).
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 1           As represented in court, the evidence that is the subject of Qualcomm’s offer of proof
 2   includes: (a) 59 5G license agreements signed after March 30, 2018; (b) 5G modem
 3   announcements from Samsung, Intel, and MediaTek; and (c) FCC announcements regarding the
 4   rollout of 5G. This evidence is directly relevant to the questions of whether the FTC can meet its
 5   burden of proof to establish that Qualcomm’s challenged conduct violates the antitrust laws and
 6   whether the FTC is entitled to the injunctive relief it seeks in this case, and, if so, its scope. All of
 7   this evidence post-dates the March 30, 2018 fact discovery deadline. It was not included on
 8   Qualcomm’s trial exhibit list as Qualcomm was mindful that such evidence had been excluded by
 9   the Court’s orders. (See Dkts. 995, 997, 1015.)
10           Qualcomm therefore requests the opportunity to make its proffer either in writing or orally
11   before it calls its witnesses on Friday, January 25, 2018.
12    Dated: January 23, 2019                                  KEKER, VAN NEST & PETERS LLP
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